PLY (9 LUE voy

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

x
UNITED STATES OF AMERICA, Civil Action #:
12-CV-2173(SJ)
Plaintiff, VERIFIED ANSWER

-against-

TWO HUNDRED EIGHTY-NINE THOUSAND
EIGHT HUNDRED DOLLARS, MORE OR LESS,
IN U.S. CURRENT ($289,800.00) SEIZED FROM
LUIS DAMIAN JACAS ON NOVEMBER 17, 2011;

TWO THOUSAND EIGHT HUNDRED FIFTY ONE
DOLLARS AND FIFTY ONE CENTS, MORE OR
LESS, IN U.S. CURRENCY ($2,851.51) SEIZED FROM
LUIS DAMIAN JACAS ON NOVEMBER 17, 2011;

TWO HUNDRED EIGHTY EIGHT (288) BOTTLES
OF WINE SEIZED FROM LUIS DAMIAN JACAS
ON NOVEMBER 17, 2011 AT WINE CARE
STORAGE LLC ON NOVEMBER 17, 2011;

THEN THOUSAND DOLLARS MORE OR LESS,
IN U.S. CURRENCY ($10,000.00) SEIZED FROM
ERIC R. BRAHMS ON NOVEMBER 17, 2011;

EIGHT HUNDRED SEVENTY THREE THOUSAND
FOUR HUNDRED SEVENTY NINE DOLLARS,
MORE OR LESS, IN U.S. CURRENCY ($873,479.00)
SEIZED FROM IRWIN GUTMAN ON NOVEMBER
17, 2011; AND

EIGHT THOUSAND TWO HUNDRED DOLLARS,
MORE OR LESS, IN UNITED STATES CURRENCY
($8, 200.00) IN U.S. CURRENCY SEIZED FROM
ELLE CHONG ROZAN ON NOVEMBER 17, 2011;

Defendants In Rem.
x

Clamant, Luis Damian Jacas, by and through his attorney, David Segal, Esq.,

alleges, upon information and belief, as follows:
1. Denies each and every allegation set forth in paragraphs of the verified
complaint numbered “8”, “9”, “10”, “11”, and “12”.

2. Denies the allegations set forth in paragraph of the verified complaint
numbered “13” except admits that a State search warrant was executed at a Manhattan
Mini Storage Unit, in the County of New York and that$289.800.00 in US currency was
seized.

3. Denies the allegations set forth in paragraph of the verified complaint
numbered “14” except admits that $2,851.51 and $350.00 were seized at his residence and
that 288 bottles of wine were seized from a unit at Wine Care Storage LLC belonging to
him.

4, Denies knowledge or information sufficient to form a belief as to the
allegations contained in paragraphs “15”, “16”, “17”, “18”, “19”, “20” and “21”.

5. Denies that the In Rem properties in paragraphs “13” and “14” are derived
from proceeds traceable to violations of 18 U.S.C. 1029.

FIRST AFFIRMATIVE DEFENSE

The Court lacks subject matter jurisdiction.

SECOND AFFIRMATIVE DEFENSE

The venue for this action belongs in the Southern District of New York.

WHEREFORE, claimant requests that the verified complaint be dismissed and for
such other and further relief as this Court deems just and proper.

Dated: New York, New York
June © , 2012
TO. p90

DAVID SEGAL (DS-5108)
Attorney for Claimant

Luis Damian Jacas

30 Vesey Street, Suite 900
New York, New York 10007
Tel. No.: (212) 406-9200

VERIFICATION

Luis Damian Jacas, being duly sworn deposes, says, and verifies:
I have read the Verified Answer and know the contents thereof. That the matters
contained in the Answer are true based upon my personal knowledge.

I declare under penalty of perjury that the Answer is true and correct to the best of

my knowledge, information and belief.

}
Dated: New York, New York 0 v.
June © ,2012 Doren | qeae
LUIS DAMIANJACAS

Docket No.: 12-CV-2173(SJ) Year: RJI No.: Hon:

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
Plaintiff,
-against-
TWO HUNDRED EIGHTY-NINE THOUSAND
EIGHT HUNDRED DOLLARS, MORE OR LESS,

IN U.S. CURRENT ($289,800.00) SEIZED FROM
LUIS DAMIAN JACAS ON NOVEMBER 17, 2011;

et al,
Defendants In Rem.
“VERIFIED ANSWER
DAVID SEGAL
Attorney for Claimant Luis Damian Jacas
Office & Post Office Address, Telephone
30 VESEY STREET
NEW YORK, N.Y. 10007
(212) 406-9200
To: Signature (Rule 130-1.1-a)
Print name beneath Attorney(s) for
Service of a copy of the within is hereby admitted.
Dated,

Attorney(s) for

Please take notice

‘ NOTICE OF ENTRY

that the within is a (certified) true copy of a

duly entered in the office of the clerk of the within names court on

{NOTICE OF SETLEMENT

that an order of which the within is a true copy will be presented for settlement to the HON.
one of the judges of the within names court, at

on

Yours, etc.

DAVID SEGAL
To: Attorney for Claimant Luis Damian
Jacas Office & Post Office Address
Attorney(s) for: 30 VESEY STREET

NEW YORK, NY 10007
